Case 3:17-cv-00072-NKM-JCH Document 252-1 Filed 03/05/18 Page 1of2 Pageid#: 1603

Motion to stay discovery Inbox x =
«

v

Mike Peinovich <mpeinovich@gmail.com> Feb 7
to David, Elmer, Bryan, James |~

| am filing a motion to stay discovery until the motions to dismiss are ruled on. Will you agree to this move and will you join or
file your own?

| want to state in my motion that all or most defendants agree.
Thanks,

Mike

James Kolenich Feb 7 ~« v
to David, me, Bryan ~

We are unable to consent to a motion we havent seen. If you send us a copy prior to filing we might be able to consent to it.

Jim Kolenich

Bryan Jones Feb 7 a v
to James, me, David |-

Same here. Please send me a copy.

Mike Peinovich <mpeinovich@gmail.com> @ Feb8 a i
to Bryan, James, David |~

Sure thing. Here is a draft of the memo in support of my motion...

 

 
 

W Peinovich -- Mem... WV
Case 3:17-cv-00072-NKM-JCH Document 252-1 Filed 03/05/18 Page 2of2 Pageid#: 1604

David Campbell <DCampbell@dhgclaw.com> Feb 8 « 4
to me, Bryan, James |~

Sure, | will consent to that motion.

From: Mike Peinovich [mailto:mpeinovich@gmail.com]

Sent: Thursday, February 08, 2018 7:25 AM

To: Bryan Jones <bryan@bjoneslegal.com>

Cc: James Kolenich <jek318@gmail.com>; David Campbell <DCampbell@dhgclaw.com>
Subject: Re: Motion to stay discovery

 

 

Spam

Phish/Fraud

Not spam

Forget previous vote

James Kolenich Feb 8 a v
to me, Bryan, David |~

Defendants Kessler et al. will not object to your motion.

Jim

Bryan Jones Feb 8 « Y
to me |~

I'll consent to the motion as well.

Bryan Jones
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